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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION


UNITED STATES OF AMERICA,

           Plaintiff,

v.                                         Case No. 2:05-cr-17-02

SUSAN SOPHIE COOK,                         HON. GORDON J. QUIST

           Defendant.
                                /


                         REPORT AND RECOMMENDATION


           Pursuant to W.D. Mich. LCrR 11.1, I conducted a plea

hearing in this case on October 12, 2005.                  At the hearing,

defendant entered a plea of guilty to Count One of the Indictment,

charging Conspiracy to Distribute and to Possess with Intent to

Distribute Five Grams or More of Mixture or Substance Containing

Cocaine   Base,    in   exchange    for   the   undertakings    made    by   the

government in the written plea agreement.             On the basis of the

record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is

made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any

force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge

and penalties provided by law; and that the plea has a sufficient

basis in fact.
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            I therefore recommend that defendant's plea of guilty to

Count One of the Indictment be accepted, that the Court adjudicate

defendant guilty of the charges set forth in Count One of the

Indictment, and that the written plea agreement be accepted at the

time   of   sentencing.       Defendant    shall       self   surrender      to    the

Marquette    County   Jail    by   3:00   p.m.    on    November     8,    2005.

Acceptance of the plea, adjudication of guilt, acceptance of the

plea   agreement,     and    imposition   of     sentence     are    specifically

reserved for the district judge.



                                      /s/ Timothy P. Greeley
                                     TIMOTHY P. GREELEY
                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 14, 2005



                              NOTICE TO PARTIES


          You have the right to de novo review of the foregoing
findings by the district judge. Any application for review must be
in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than
ten days after the plea hearing.       Failure to file objections
within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See W.D. Mich. LCrR
11.1.
